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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
_ ANCEL MONTENELLI,
Plaintiff,
vs.
LEGEND TASTY HOUSE, INC. AND Case No. 18-cv-07490
JOHN DOE, Honorable Judge Sara L. Ellis
Defendants.

 

 

MEMORANDUM IN SUPPORT OF DEFENDANT LEGEND TASTY HOUSE,
INC.’s MOTION TO DISMISS IMPROPER PARTY AND MOTION TO DISMISS
FOR LACK OF PERSONAL JURISDICTION

Defendant Legend Tasty House, Inc. (“Legend”) files this memorandum in support of
their motion to dismiss improper party and motion to dismiss for lack of subject matter
jurisdiction pursuant to Federal Rule of Civil Procedure 12(b) subsection (2) and this

Court’s Order of July 2, 2019.

1. That on November 12, 2018, Plaintiff Ancel Montenelli (“Montenelli’’) filed his

Complaint in the instant case.

2. That the Plaintiff claims in his complaint that Defendant John Doe is the owner of
real property located at 2242 South Wentworth Avenue, Chicago, Illinois 60616
which leases to Co-Defendant Legend Tasty House, Inc. See Plaintiff's

Complaint, which is incorporated by reference, at paragraph 9.

3. That Plaintiff also claims in his complaint that Co-Defendant Legend Tasty

House, Inc. operates the Legend Tasty House restaurant within the leased space
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located at 2242 South Wentworth Avenue, Chicago, Illinois 60616. See

Plaintiff's Complaint, which is incorporated by reference, at paragraph 10.

That Plaintiff claims that he personally visited the restaurant which is located
within Co-Defendant John Doe’s Building. See Plaintiff's Complaint, which is

incorporated by reference, at paragraph 14.

. That Qi Lin, Inc. is an active Illinois Corporation with an agent street address of

2242 S. Wentworth Ave., Chicago, IL 60616. See attached Corporation File

Detail Report from the Illinois Secretary of State.

That Defendant Legend Tasty House, Inc. is an active IIinois Corporation with an
agent street address of 1828 S. Wentworth Ave., Apt 5c, Chicago, IL 60616. See

attached Corporation File Detail Report from the Illinois Secretary of State.

That Qi Lin, Inc. owns and operates the Legend Tasty House Restaurant located
at 2242 S. Wentworth Ave., Chicago, IL 60616. See attached affidavit of Terry

D. Slaw.

That Defendant Legend Tasty House, Inc. does not operate or own any restaurant,
business or other entity located at 2242 South Wentworth Avenue, Chicago,

Hlinois 60616. See attached affidavit of Terry D. Slaw.

Defendant Legend Tasty House, Inc. is improperly named as a party defendant in
the instant case because Legend Tasty House, Inc. does not own, operate, control,
lease or maintain any real property or business located at 2242 South Wentworth

Avenue, Chicago, Illinois 60616. Jd.
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10. That Defendant Legend Tasty House, Inc. should be dismissed from this lawsuit.

For the reasons stated above, this court should dismiss Plaintiffs Complaint against

Defendant Legend Tasty House, Inc. with prejudice.

RESPECTFULLY SUBMITTED,

Dated: July 23, 2019

s/Terry D. Slaw
Terry D. Slaw

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